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                             Exhibit A
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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                     TYLER DIVISION

  TERRA TERSUS, LLC                               §
                                                  §        CASE NO. 6:17-CV-697-RWS-KNM
  v.                                              §        LEAD CASE
                                                  §
  XTO ENERGY, INC.                                §
   ____________________________________________________________________________
   TERRA TERSUS, LLC                               §
                                                   §        CASE NO. 6:17-CV-698-RWS-KNM
   v.                                              §
                                                   §
   NATIONAL OILWELL VARCO, L.P.                    §


                                 [PROPOSED] DISCOVERY ORDER

          After a review of the pleaded claims and defenses in this action, in furtherance of the

   management of the Court’s docket under Federal Rule of Civil Procedure 16, and after receiving

   the input of the parties to this action, it is ORDERED AS FOLLOWS:

   1.     Initial Disclosures.        In lieu of the disclosures required by Federal Rule of Civil

          Procedure 26(a)(1), each party shall disclose to every other party the following

          information:

          (a)    the correct names of the parties to the lawsuit;

          (b)    the name, address, and telephone number of any potential parties;

          (c)    the legal theories and, in general, the factual bases of the disclosing party’s claims

                 or defenses (the disclosing party need not marshal all evidence that may be

                 offered at trial);

          (d)    the name, address, and telephone number of persons having knowledge of

                 relevant facts, a brief statement of each identified person’s connection with the

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                  case, and a brief, fair summary of the substance of the information known by any

                  such person;

          (e)     any indemnity and insuring agreements under which any person or entity carrying

                  on an insurance business may be liable to satisfy part or all of a judgment entered

                  in this action or to indemnify or reimburse for payments made to satisfy the

                  judgment;

          (f)     any settlement agreements relevant to the subject matter of this action; and

          (g)     any statement of any party to the litigation.

   2.     Disclosure of Expert Testimony. A party must disclose to the other parties the identity

          of any witness it may use at trial to present evidence under Federal Rule of Evidence 702,

          703 or 705, and:

          (a)     if the witness is one retained or specially employed to provide expert testimony in

                  the case or one whose duties as the party’s employee regularly involve giving

                  expert testimony, provide the disclosures required by Federal Rule of Civil

                  Procedure 26(a)(2)(B) and Local Rule CV-26; and

          (b)     for all other such witnesses, provide the disclosure required by Federal Rule of

                  Civil Procedure 26(a)(2)(C).

   3.     Additional Disclosures. Without awaiting a discovery request,1 each party will make the

          following disclosures to every other party:

          (a)     provide the disclosures required by the Patent Rules for the Eastern District of

                  Texas with the following modifications to P.R. 3-1 and P.R. 3-3:


          1
            The Court anticipates that this disclosure requirement will obviate the need for requests
   for production.



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                      P.R. 3-1(g): If a party claiming patent infringement asserts that a
                      claim element is a software limitation, the party need not comply
                      with P.R. 3-1 for those claim elements until 30 days after source
                      code for each Accused Instrumentality is produced by the opposing
                      party. Thereafter, the party claiming patent infringement shall
                      identify, on an element-by-element basis for each asserted claim,
                      what source code of each Accused Instrumentality allegedly
                      satisfies the software limitations of the asserted claim elements.

                      P.R. 3-3(e): If a party claiming patent infringement exercises the
                      provisions of P.R. 3-1(g), the party opposing a claim of patent
                      infringement may serve, not later than 30 days after receipt of a
                      P.R. 3-1(g) disclosure, supplemental “Invalidity Contentions” that
                      amend only those claim elements identified as software limitations
                      by the party claiming patent infringement.

        (b)    produce or permit the inspection of all documents, electronically stored

               information, and tangible things in the possession, custody, or control of the party

               that are relevant to the pleaded claims or defenses involved in this action, except

               to the extent these disclosures are affected by the time limits set forth in the Patent

               Rules for the Eastern District of Texas; and

        (c)    provide a complete computation of any category of damages claimed by any party

               to the action, and produce or permit the inspection of documents or other

               evidentiary material on which such computation is based, including materials

               bearing on the nature and extent of injuries suffered, except that the disclosure of

               the computation of damages may be deferred until the time for Expert Disclosures

               if a party will rely on a damages expert.

   4.   Protective Orders. The Court will enter the parties’ Agreed Protective Order.

   5.   Discovery Limitations.      The discovery in this cause is limited to the disclosures

        described in Paragraphs 1-3 together with:

               “Defendant Group” refers to XTO Energy, Inc. (“XTO”) and National Oilwell

        Varco, L.P. (“NOV”). To the extent possible, XTO and NOV are to coordinate their

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        discovery efforts as to “Common Issues,” including patent validity and enforceability. In

        keeping with the above, the following discovery limits are agreed to:

        •   Interrogatories:

               o Defendant Group may serve up to 10 Common Issue interrogatories on

                   Plaintiff.

               o Plaintiff may serve up to 10 Common Issue Interrogatories on the Defendant

                   Group.

               o XTO and NOV may each individually serve up to 10 additional

                   interrogatories on Plaintiff.

               o Plaintiff may serve up to 10 additional interrogatories on each of XTO and

                   NOV.

        •   Requests for Admissions (“RFA”)

               o Plaintiff may serve up to twenty five (25) requests for admission on each of

                   XTO and NOV, other than those directed to authentication and admissibility

                   of evidence.

               o XTO and NOV may each serve twenty five (25) requests for admission on

                   Plaintiff, other than those directed to authentication and admissibility.

               o The parties will confer to work out an appropriate agreement/stipulation

                   concerning document authenticity prior to trial and shall not withhold

                   agreement to reasonable proposals. Should the parties prove unable to agree,

                   the parties may serve unlimited RFA’s directed to authentication and

                   admissibility of evidence.

        •   Number of Experts


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               o Plaintiff, XTO, and NOV may each retain up to 3 expert witnesses.

        •   Depositions Generally.

               o The parties shall use reasonable, good faith efforts to avoid cumulative or

                   unnecessary depositions.

        •   Depositions by Plaintiff

               o Plaintiff may take up to 35 hours of non-expert depositions of each of XTO

                   and NOV witnesses (including Rule 30(b)(1) and Rule 30(b)(6) depositions,

                   but excluding experts.) 30(b)(6) depositions of each of XTO and NOV shall

                   be no more than 14 hours and no more than 7 hours per day.

               o Plaintiff may take up to an additional 35 hours of non-expert depositions of

                   non-party witnesses.

               o No non-expert witness testifying in his or her individual capacity may be

                   deposed more than once or for more than 7 hours.

        •   Depositions by Defendants

               o Defendant Group may take up to 35 hours of non-expert depositions of

                   Plaintiff witnesses (including Rule 30(b)(1) and Rule 30(b)(6) depositions, but

                   excluding experts.) The 30(b)(6) deposition of Plaintiff shall be no more than

                   14 hours and no more than 7 hours per day.

               o Defendant Group may take up to an additional 35 hours of non-expert

                   depositions of non-party witnesses.

               o No non-expert witness testifying in his or her individual capacity may be

                   deposed more than once or for more than 7 hours.




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        •   Expert Depositions

               o The parties agree that when a party issues an individual report to another

                   party, deposition of expert witnesses shall be limited to seven (7) hours per

                   initial report and up to four (4) additional hours for each report to an

                   individual party supplementing an original report.

               o If an expert provides a report that relates to multiple parties, the expert may be

                   deposed for seven (7) hours plus four (4) hours per additional party (such that,

                   for example, if Plaintiff’s expert issues a single report on damages applicable

                   to XTO and NOV, that expert would be subject to 11 hours of depositions)

                   and up to four (4) additional hours per report supplementing an initial report.

                   Notwithstanding the foregoing, invalidity experts may be deposed for seven

                   (7) hours per report plus (4) hours per supplemental report.

        •   Depositions on Written Questions

               o The parties may serve ten (10) document subpoenas and depositions on

                   written questions, respectively, on third parties as permitted by the Federal

                   Rules of Civil Procedure.

        •   ESI Disclosures

               o Should e-mail discovery become necessary under the ESI Stipulated Order, on

                   August 10, 2018, the parties shall disclose the identification of the three (3) e-

                   mail custodians in view of the pleaded claims and defenses, as required by the

                   ESI Stipulated Order.

        Any party may later move to modify these limitations for good cause.




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   6.   Privileged Information.       There is no duty to disclose privileged documents or

        information. However, the parties are directed to meet and confer concerning privileged

        documents or information after the Status Conference. By the deadline set in the Docket

        Control Order, the parties shall exchange privilege logs identifying the documents or

        information and the basis for any disputed claim of privilege in a manner that, without

        revealing information itself privileged or protected, will enable the other parties to assess

        the applicability of the privilege or protection. Any party may move the Court for an

        order compelling the production of any documents or information identified on any other

        party’s privilege log. If such a motion is made, the party asserting privilege shall respond

        to the motion within the time period provided by Local Rule CV-7. The party asserting

        privilege shall then file with the Court within 30 days of the filing of the motion to

        compel any proof in the form of declarations or affidavits to support their assertions of

        privilege, along with the documents over which privilege is asserted for in camera

        inspection.

   7.   Signature. The disclosures required by this Order shall be made in writing and signed by

        the party or counsel and shall constitute a certification that, to the best of the signer’s

        knowledge, information and belief, such disclosure is complete and correct as of the time

        it is made. If feasible, counsel shall meet to exchange disclosures required by this Order;

        otherwise, such disclosures shall be served as provided by Federal Rule of Civil

        Procedure 5. The parties shall promptly file a notice with the Court that the disclosures

        required under this Order have taken place.

   8.   Duty to Supplement. After disclosure is made pursuant to this Order, each party is

        under a duty to supplement or correct its disclosures immediately if the party obtains



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        information on the basis of which it knows that the information disclosed was either

        incomplete or incorrect when made, or is no longer complete or true.

   9.   Discovery Disputes.

        (a)    Except in cases involving claims of privilege, any party entitled to receive

               disclosures (“Requesting Party”) may, after the deadline for making disclosures,

               serve upon a party required to make disclosures (“Responding Party”) a written

               statement, in letter form or otherwise, of any reason why the Requesting Party

               believes that the Responding Party’s disclosures are insufficient. The written

               statement shall list, by category, the items the Requesting Party contends should

               be produced. The parties shall promptly meet and confer. If the parties are

               unable to resolve their dispute, then the Responding Party shall, within 14 days

               after service of the written statement upon it, serve upon the Requesting Party a

               written statement, in letter form or otherwise, which identifies (1) the requested

               items that will be disclosed, if any, and (2) the reasons why any requested items

               will not be disclosed. The Requesting Party may thereafter file a motion to

               compel.

        (b)    An opposed discovery related motion, or any response thereto, shall not exceed 7

               pages. Attachments to a discovery related motion, or a response thereto, shall not

               exceed 5 pages. No further briefing is allowed absent a request or order from the

               Court.

        (c)    In addition to the requirements of Local Rule CV-7(h) and (i), within 72 hours of

               the Court setting any discovery motion for a hearing, each party’s lead attorney

               (see Local Rule CV-11(a)) (and local counsel, if any) shall meet and confer in



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                person or by telephone, without the involvement or participation of other

                attorneys, in an effort to resolve the dispute without Court intervention.

         (d)    Counsel are directed to contact the chambers of the undersigned for any “hot-line”

                disputes before contacting the Discovery Hotline provided by Local Rule CV-

                26(e). If the undersigned is not available, the parties shall proceed in accordance

                with Local Rule CV-26(e).

   10.   No Excuses. A party is not excused from the requirements of this Discovery Order

         because it has not fully completed its investigation of the case, or because it challenges

         the sufficiency of another party’s disclosures, or because another party has not made its

         disclosures. Absent court order to the contrary, a party is not excused from disclosure

         because there are pending motions to dismiss, to remand or to change venue.

   11.   Filings. Only upon request from chambers shall counsel submit to the court courtesy

         copies of any filings.

   12.   Proposed Stipulations by the Parties Regarding Discovery:

         (a)    Service by Electronic Mail. The parties shall make every effort to serve all

                documents electronically, by email or through ECF. The parties may serve all

                documents by email by sending the documents to the email address designated for

                service by a party's outside counsel of record, which email address shall serve

                only outside counsel of record and those employed by outside counsel of record.

                Where a document is too large to serve by email or requires additional security,

                the serving party shall send an email notice providing instructions for

                downloading the document via FTP or similar file transfer service. The parties

                agree that service by email before midnight local time where the court is located



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               shall be considered timely served that day in compliance with Local Rule CV-

               5(a)(3)(C-D).

         (b)   Exception to the Obligation to Log Privileged Documents. The parties agree

               that documents or information created subsequent to December 19, 2017 the work

               product of each party’s litigation counsel created after Jun 19, 2017, and

               communications between a single party’s outside litigation counsel created after

               June 19. 2017, that are protected by attorney-client privilege or work product

               doctrine, including any applicable common interest or joint defense privileges, do

               not have to be identified on a privilege log, except as provided under Local Patent

               Rule 3-7.

         (c)   Federal Rule of Evidence 502(d). The Parties stipulate that Federal Rule of

               Evidence 502(d) shall apply to all discovery in this lawsuit – specifically, that any

               otherwise applicable privileges or protections are not waived by disclosure

               connected with this lawsuit.

         (d)   Expert Discovery. The parties agree that the following materials shall not be

               subject to discovery in this litigation: (a) draft expert reports; (b) notes, outlines,

               and any other materials used to prepare any draft expert report; (c)

               communications and conversations between counsel and testifying or consulting

               experts, unless such conversations or communications are relied upon as a basis

               for any opinions provided in any expert report or expert testimony; (d)

               information, analyses, opinions, or other materials from any outside consultant or

               expert, unless such information, analyses, opinions, or other materials are relied

               upon as a basis for any opinions provided in an expert report or expert testimony;



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               (e) documents, other discovery materials or other documents and information

               considered but not relied upon as a basis for any opinions provided in an expert

               report or expert testimony. Materials, communications, and other information

               exempt from discovery under this paragraph shall be treated as attorney-work

               product privileged but need not be logged on a privilege log. This provision does

               not change the existing protections for expert discovery and exceptions thereto set

               forth in Fed. R. Civ. P. 26(b)(4).

         (e)   Third Party discovery. A party who serves a subpoena in this matter on a third

               party shall immediately provide a copy to the other party. A party who receives

               documents from a third party pursuant to a subpoena will reproduce those

               documents to the other party within two (2) business days or sooner if necessary

               for the receiving parties to have reasonable opportunity to review the documents

               before an event (e.g., deposition). Where reproduction of documents within the

               time required by this paragraph is not possible, the party who received the

               documents will provide prompt notice to the other party and will work in good

               faith to resolve the issue on a case-by-case basis.




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